 Case 3:23-cv-03347-DWD Document 17 Filed 12/18/23 Page 1 of 4 Page ID #24




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                )
                                         )
      Plaintiff,                         )
                                         )
      v.                                 )      Case No. 3:23-cv-3347-DWD
                                         )
JANICE AUGUSTINE,                        )
                                         )
      Defendant.                         )

            STIPULATED CONSENT DECREE AND FINAL JUDGMENT

      Plaintiff, United States of America (“Plaintiff”), commenced the above-captioned

action in this Court on October 10, 2023 with a complaint pursuant to 18 U.S.C. § 1345,

alleging that Defendant Janice Augustine is committing or about to commit a violation of

the wire fraud statutes, 18 U.S.C. §§ 1343 and 1349.

      Plaintiff and Defendant, through counsel Jessica Koester, wish to resolve Plaintiff’s

allegations without litigation and jointly request and consent to the entry of this

Stipulated Consent Decree and Final Judgment (“Consent Decree”) without Defendant’s

admission of liability or wrongdoing.

      Defendant has entered this Consent Decree freely and without coercion.

Defendant further acknowledges that she has read the provisions of this Consent Decree,

understands them, and is prepared to abide by them.

      IT IS HEREBY ADJUDGED, ORDERED, AND DECREED as follows:
 Case 3:23-cv-03347-DWD Document 17 Filed 12/18/23 Page 2 of 4 Page ID #25




       1.     This Court has jurisdiction over this matter and the parties pursuant to 18

U.S.C. § 1345 and 28 U.S.C. §§ 1331 and 1345. Venue is proper in this District under 28

U.S.C. § 1391(b) and (c).

       2.     Defendant neither admits nor denies the allegations in the Complaint. Only

for purposes of this action, Defendant admits the facts necessary to establish jurisdiction.

       3.     For purposes of this Consent Decree:

              a.     “Defendant” means Janice Augustine.

              b.     “Person” means an individual, a corporation, a partnership, or any

                     other entity.

              c.     “Funds” include any currency, check, money order, stored value

                     card, stored value card numbers, bank wire transmission, automated

                     clearing house transmission, or other monetary value.

              d.     “Money transmitting business” refers to the activity of, for a fee,

                     receiving funds from one person for the purpose of transmitting the

                     funds, or providing access to the funds, to another person.

              e.     “Fee” refers to a payment or compensation of any kind regardless of

                     how the payment or compensation is labeled, including but not

                     limited to processing fees, service fees, shipping fees, handling fees,

                     expediting fees, purchase fees, nominal fees, symbolic payments,

                     refunds, credit card payments, gifts and gratuities.
 Case 3:23-cv-03347-DWD Document 17 Filed 12/18/23 Page 3 of 4 Page ID #26




               f.     Upon entry of this Decree, Defendant is permanently prohibited and

                      enjoined from, directly or indirectly, assisting, facilitating, or

                      participating in any money transmitting business.

          4.   The Consent Decree shall not be modified except in writing by Plaintiff and

the Defendant and approved by the Court.

          5.   This Consent Decree shall constitute a final judgment and order in this

action.

          6.   This Court retains jurisdiction of this action for the purpose of enforcing or

modifying this Consent Decree and for the purpose of granting such additional relief as

may be necessary or appropriate.

          ENTERED: December 18, 2023

                                                         s/ David W. Dugan
                                                         __________________________
                                                         DAVID W. DUGAN
                                                         United States District Judge

We hereby consent to the entry of the foregoing Consent Decree and Final Judgment:

                                                  FOR PLAINTIFF:
                                                  UNITED STATES OF AMERICA

                                                  RACHELLE AUD CROWE
                                                  United States Attorney

                                                  /s/ Adam E. Hanna

Dated: December 4, 2023                           Adam E. Hanna
                                                  Assistant United States Attorney
                                                  9 Executive Drive
                                                  Fairview Heights, IL 62208
                                                  618-206-3510
                                                  adam.hanna@usdoj.gov
 Case 3:23-cv-03347-DWD Document 17 Filed 12/18/23 Page 4 of 4 Page ID #27




                                        FOR DEFENDANT:


                                        /s/ Janice M. Augustine

Dated: December 1, 2023                 _______________________________
                                        Janice M. Augustine

                                        /s/ Jessica Koester
                                        _______________________________
                                        Jessica Koester, Attorney for Defendant
